                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                      Plaintiff,          )
                                          )
vs.                                       )      Case No. 01-00253-01/02-CR-W-ODS
                                          )
ROBERT R. COURTNEY, et al.                )
                                          )
                      Defendants.         )

                  ORDER AND OPINION DENYING DEFENDANT’S
                RENEWED MOTION FOR REDUCTION IN SENTENCE
       Pending is Defendant Robert Courtney’s Renewed Motion for Reduction in
Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A). Docs. #174, 178. For the following
reasons, Defendant’s motion is denied.


                                   I.    BACKGROUND
       In August 2001, Defendant Robert Courtney, a pharmacist at the time, was
charged with diluting prescription chemotherapy drugs, which he sold to consumers of
his pharmacy. Doc. #10. In April 2002, Defendant pleaded guilty to all twenty charges,
which included eight counts of tampering with consumer products (18 U.S.C. §§
1365(a), 1365(a)(3)), six counts of adulteration of drugs (21 U.S.C. §§ 331(k),
333(a)(2)), and six counts of misbranding drugs (21 U.S.C. §§ 331(k), 333(a)(2)). Docs.
#102-03, 106. Defendant admitted to diluting prescription chemotherapy drugs and
providing diluted prescription chemotherapy drugs to thirty-four persons on 158
separate occasions. Docs. #102, 106. Defendant also admitted to purchasing and
selling stolen chemotherapy drugs and causing false claims to be submitted to
Medicare. Id. Defendant admitted he knew his conduct would cause serious bodily
harm and a substantial risk of death to the patients who received the chemotherapy
drugs that he diluted. Id.
       On December 5, 2002, Defendant was sentenced to 360 months’ imprisonment.
Docs. #132-35. Among other things, the Court found Defendant, who targeted




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vulnerable victims, “significantly endangered public health,” and his “conduct posed a
unique and substantial risk of psychological injury.” Doc. #131, at 2; Doc. #137-1, at
117-21. The Court acknowledged “the magnitude of the additional criminal conduct,”
which included an additional twenty-six individuals who received diluted chemotherapy
drugs from Defendant, for which Defendant was not charged. Doc. #137-1, at 120. The
Court found Defendant’s crimes were “a shock to the civilized conscience”; “a shock to
the conscience of a nation, the conscience of a community, and the conscience of this
Court”; and were “beyond understanding.” Id. at 122. Defendant’s conduct “changed
the way a nation thinks . . . about pharmacists . . . about prescription medication . . .
[and] about those institutions that we trusted blindly.” Id.
       Defendant’s sentence was upheld by the United States Court of Appeals for the
Eighth Circuit. United States v. Courtney, 362 F.3d 497, 498-99 (8th Cir. 2004), cert.
granted, judgment vacated, 543 U.S. 1098 (2005), and opinion reinstated, 412 F.3d 855
(8th Cir. 2005).
       In December 2019, Defendant filed a pro se motion asking the Court to reduce
his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). Doc. #162. After obtaining an
extension of time, Plaintiff United States of America opposed the motion, arguing
Defendant did not exhaust his administrative remedies with the Bureau of Prisons
(“BOP”) and failed to show extraordinary and compelling reasons warranted a reduction
in sentence. Doc. #166. In April 2020, the Court denied Defendant’s motion without
prejudice, finding he failed to establish he exhausted his administrative remedies. Doc.
#169. The Court also denied Defendant’s Motion to Reconsider. Docs. #170, 172.
       On May 26, 2020, the Court received a filing from Defendant seeking an
extension of time to respond to the Government’s opposition to Defendant’s Motion to
Reconsider. Doc. #174. Because Defendant’s Motion to Reconsider had already been
denied, the Court found this request was rendered moot. Doc. #175. However, in the
same filing, Defendant informed the Court that a more recent request for a reduction in
sentence was denied by the warden of Defendant’s correctional facility on April 29,
2020. Doc. #174, at 5-6. Defendant also mentioned he had obtained representation
and requested six weeks for counsel to enter an appearance. Id. at 6-7.




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       The Court construed Defendant’s filing as a renewed motion for a reduction in
sentence and granted Defendant leave to file supplemental suggestions. Doc. #175.
On July 9, 2020, Defendant, now represented by counsel, filed supplemental
suggestions in support of his renewed motion for a reduction in sentence. Doc. #178.
On July 24, 2020, the Government filed its opposition to Defendant’s motion. Doc.
#179. On July 29, 2020, Defendant filed his reply. Doc. #180.


                                    II.    DISCUSSION
                      A.     Exhaustion of Administrative Rights
       Before a district court can consider a sentence reduction request under 18
U.S.C. § 3582(c), the defendant must have “fully exhausted all administrative rights to
appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf or
the lapse of 30 days from the receipt of such a request by the warden of the defendant’s
facility, whichever is earlier . . . .” 18 U.S.C. § 3582(c)(1)(A). To exhaust all
administrative rights, a defendant must submit a “request” to the warden for a reduction
in sentence based on extraordinary and compelling reasons. 28 C.F.R. § 571.61(a).
       “An inmate may initiate a request for consideration . . . only when there are
particularly extraordinary or compelling circumstances which could not reasonably have
been foreseen by the court at the time of sentencing.” Id. “Ordinarily, the request shall
be in writing,” include the “extraordinary or compelling circumstances” the defendant
“believes warrant consideration,” and contain proposed release plans. § 571.61(a)(1)-
(2). Pursuant to BOP’s procedures, a request for a sentence reduction pursuant to 18
U.S.C. § 3582(c)(1) is “considered ‘submitted’ . . . when received by the Warden . . . .”
Fed. Bureau of Prisons, Compassionate Release/Reduction in Sentence: Procedures
for Implementation of 18 U.S.C. §§ 3582 and 4205(g), Program Statement No. 5050.50
(Jan. 17, 2019), https://www.bop.gov/policy/progstat/5050_050_EN.pdf.
       On March 27, 2020, Defendant submitted a request for compassionate release to
the warden of FCI Englewood, where Defendant is incarcerated. Doc. #178-1. On
June 4, 2020, Defendant’s request was denied. Doc. #178-2. The Government
“concedes that further exhaustion of administrative remedies can be excused and the
Court can proceed to determine the merits of Defendant’s motion.” Doc. #179, at 3.



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Regardless, more than thirty days have elapsed since Defendant submitted his request.
Accordingly, Defendant has fully exhausted his administrative rights. 18 U.S.C. §
3582(c)(1)(A).


                  B.      Defendant’s Request for Compassionate Release
       Among other things, the First Step Act of 2018 allows defendants, for the first
time, to petition district courts directly for early release from prison in certain
circumstances. 18 U.S.C. § 3582(c).1 To grant Defendant’s request for early release,
the Court must (1) find “extraordinary and compelling reasons warrant such a
reduction,” (2) conclude “such a reduction is consistent with applicable policy
statements issued by the Sentencing Commission,” (3) “consider[ ] the factors set forth
in section 3553(a) to the extent that they are applicable,” and (4) find “the defendant is
not a danger to the safety of another person or the community.” 28 U.S.C. §
3582(c)(1)(A); U.S.S.G. § 1.B1.13.


            (1)        Extraordinary and Compelling Reasons and the Sentencing
                                 Commission’s Policy Statement
       As the United States Court of Appeals for the Eighth Circuit recently noted, “the
Sentencing Commission has not updated its policy statement regarding compassionate
release since the First Step Act.” United States v. Rodd, 966 F.3d 740, 746 (8th Cir.
2020). In its current form, the Sentencing Commission’s applicable policy statement
“identifies four categories that constitute ‘[e]xtraordinary and compelling reasons
warrant[ing] the [sentence] reduction.’” Id. (quoting U.S.S.G. § 1B1.13 app. n.1).
“[E]xtraordinary and compelling reasons” include “the defendant’s medical condition, the
defendant’s age, the defendant’s family circumstances, and other ‘extraordinary and
compelling reason[s]’ ‘[a]s determined by the Director of the Bureau of Prisons.’” Id. at
746-47 (quoting U.S.S.G. § 1B1.13 app. n.1).




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  Prior to the First Step Act, only the Director of the Bureau of Prisons could move for
compassionate release. United States v. Rodd, 966 F.3d 740, 745 (8th Cir. 2020)
(citation omitted).


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       When a defendant “is suffering from a terminal illness,” the defendant’s medical
condition is considered an extraordinary and compelling reason. U.S.S.G. § 1B1.13
app. n.1(A)(i). Additional extraordinary and compelling reasons associated with the
defendant’s medical condition include when “[t]he defendant is…suffering from a
serious physical or medical condition,….suffering from a serious functional or cognitive
impairment,…or experiencing deteriorating physical or mental health because of the
aging process, that substantially diminishes the ability of the defendant to provide self-
care within the environment of a correctional facility and from which he or she is not
expected to recover.” § 1B1.13 app. n.1(A)(ii).
       A defendant’s age may also qualify as an extraordinary and compelling reason
for reducing a sentence. § 1B1.13 app. n.1(B). To be considered for a reduction in
sentence based on age, “[t]he defendant (i) [must be] at least 65 years old; (ii) is
experiencing a serious deterioration in physical or mental health because of the aging
process; and (iii) has served at least 10 years or 75 percent of his or her term of
imprisonment, whichever is less.” Id.
       Defendant argues “extraordinary and compelling circumstances presented in the
instant case are two-fold”: (1) “he qualifies for compassionate release based on his age
and health concerns,” and (2) his “age and health conditions create a significant risk of
serious illness or death due to the COVID-19 pandemic.” Doc. #178, at 11.2 Defendant
is sixty-seven years old and claims he “suffers from chronic and serious medical
conditions that affect his daily life.” Id. While in prison, Defendant “has suffered from
hypertension, a stroke, three heart attacks, and two years of internal bleeding which
required blood transfusions.” Id. In support of his argument that his sentence should be
reduced, Defendant points to risks associated with his medical conditions, the spread of
COVID-19 in prisons, and other courts’ decisions granting requests for compassionate
release in light of COVID-19.




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 Defendant does not argue his family circumstance is a basis for his pending motion,
so the Court does not discuss or consider that basis.


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                      (a)    Risk for Severe Illness from COVID-19
       Defendant relies on the Centers for Disease Control and Prevention (“CDC”) to
support his argument that his age and medical conditions create a significant risk of
serious illness or death due to COVID-19. Doc. #178, at 11-12. “Among adults, the risk
for severe illness from COVID-19 increases with age . . . .” CDC, Coronavirus Disease
2019: Older Adults, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/
older-adults.html (last visited Aug. 28, 2020). In addition, “[p]eople of any age with the
following conditions are at increased risk of severe illness from COVID-19”: cancer;
chronic kidney disease; chronic obstructive pulmonary disease; immunocompromised
state from solid organ transplant; obesity; “[s]erious heart conditions, such as heart
failure, coronary artery disease, or cardiomyopathies”; sickle cell disease; or Type 2
diabetes. CDC, Coronavirus Disease 2019: People with Certain Medical Conditions,
www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html (last visited Aug. 28, 2020) (emphasis in original). The CDC states
people suffering from, among other things, “hypertension or high blood pressure”
“might be at an increased risk for severe illness from COVID-19.” Id. (emphasis in
original).
       Defendant provides some medical records to his renewed motion. See Doc.
#178-3. The most recent medical record is from March 2018. Id. at 2. At that time,
Defendant’s hypertension medication was changed, and he was directed to “[f]ollow-up
at Chronic Care Clinic as Needed.” Id. The other medical records are from April 2017
and September 2016. Id. at 3-9. While Defendant states he has suffered from heart
attacks, the provided medical records, as best the Court can discern, do not
demonstrate Defendant suffers from a serious heart condition. Id. at 2-9. Furthermore,
the medical records do not establish Defendant suffers from a condition that, according
to the CDC, would place him at an increased risk of severe illness from COVID-19. At
most, Defendant’s hypertension “might be an increased risk for severe illness from
COVID-19,” according to the CDC.




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                        (b)    COVID-19 and the Federal Prisons
       Defendant also points to the spread of COVID-19 throughout the federal prisons.
Doc. #178, at 12. The BOP has more than 127,000 inmates in facilities that the BOP
manages and nearly 14,000 in community-based facilities. BOP, COVID-19
Coronavirus, www.bop.gov/coronavirus/ (last visited Aug. 28, 2020). The BOP reports
1,482 inmates and 648 BOP staff members have confirmed positive test results for
COVID-19. Id. BOP also represents 117 inmates and one BOP staff member has died
from COVID-19. Id.
       At FCI Englewood, where Defendant is located, one inmate has a confirmed
positive test result for COVID-19, six inmates recovered from COVID-19, and one staff
member recovered from COVID-19. Id. FCI Englewood has a population of 968
inmates. BOP, FCI Englewood, https://www.bop.gov/locations/institutions/eng/ (last
visited Aug. 28, 2020). Based on the figures provided by BOP, the rate of COVID-19
infection at FCI Englewood is approximately 0.7%.3 FCI Englewood’s incident rate is
lower than the incident rate in the State of Colorado where the facility is located.4
       The Government emphasizes the BOP has measures in place to contain the
spread of COVID-19 and treat affected inmates. Doc. #179, at 2, 6-9. The BOP’s
action plan provides for preventative and mitigating measures, including the screening
of inmates and staff members, quarantine logistics, suspension of social visits and
tours, suspension of legal visits, suspension of inmate movements, modified operations,
and limited group gatherings. Id. at 6-9. Given the low incident rate at FCI Englewood,
the BOP’s measures appear to be working at that facility.




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  The Court did not include the staff member who recovered from COVID-19 in its
calculation because the number of staff members at FCI Englewood is unknown.
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  The State of Colorado has reported more than 56,000 COVID-19 cases. Colo. Dep’t
of Pub. Health & Env’t, https://covid19.colorado.gov (last visited Aug. 28, 2020). With a
population of 5,700,000, Colorado’s COVID-19 incident rate is 0.98%. U.S. Census
Bureau, Quick Facts: Colo., https://www.census.gov/quickfacts/CO (last visited Aug. 25,
2020).


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                            (c)    Other District Court Decisions
       In further support of his motion, Defendant cites to six district courts that granted
motions for compassionate release due to COVID-19. Doc. #178, at 13-15. But the
cited cases are unlike Defendant’s circumstances.
       First, in United States v. Foster, the defendant suffered from a “chronic lung
illness,”5 which caused him to “struggle[ ] to breathe on a daily basis.” No. 14-CR-324-
JEJ (M.D. Pa. Apr. 3, 2020) (Doc. #191, at 1-2, 7). Due to his medical condition and the
alleged “overcrowded and unsanitary prison facility,” the defendant sought
compassionate release. Id. at 3. In granting the motion, the district court considered
the defendant’s medical condition, noting COVID-19 was “perhaps most notorious for
causing shortness of breath”; his age (seventy); the nonviolent nature of his offense6;
and the defendant’s allegation that the facility was “overcrowded and unsanitary.” Id. at
7-11. In addition, the district court placed significance on the BOP’s determination that
the defendant merited home confinement beginning approximately forty-five days later
and “nearly a year earlier than previously scheduled.” Id. at 2, 7-10. Additionally, the
defendant had served forty-eight months of his sixty-month sentence. Id. at 2, 9-10.
       Second, in United States v. Colvin, the defendant moved for compassionate
release due to her medical conditions, which included Type 2 diabetes and high blood
pressure, and being confined in a “densely populated prison” where it would be “more
difficult to engage in the social distancing that will be critical to her health.” No.
3:19CR179 (JBA), 2020 WL 1613943, at *1, 3 (D. Conn. Apr. 2, 2020). The defendant,
who was convicted of mail fraud, was sentenced to thirty days, and when she filed her
motion, she had eleven days left to serve. Id. at *1-2. In granting her motion, the
district court found the defendant would be unable to provide self-care and practice
social distancing and proper hygiene at the facility where she was incarcerated. Id. at 4.


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  The defendant suffers from bronchiectasis, which as the district court explained, “is a
disease of the lungs in which mucus builds up in the airways which can cause infection
and bleeding. This build up, and the resulting lengthening of the airways, make it
harder and harder to breather over time.” United States v. Foster, No. 4-CR-324-JEJ
(M.D. Pa. Apr. 3, 2020) (Doc. #191, at 1-2). “Bronchiectasis is a progressive disease,
and there is no cure.” Id. at 2.
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  The defendant participated “in a large-scale scheme to defraud his employer, Rite Aid
Corporation.” Id. at 2.


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       Third, Defendant accurately represents the district court in United States v.
Brannan granted the defendant’s motion for compassionate release on the same day it
was filed. 4:15-CR-80-01 (S.D. Tex. Apr. 2, 2020) (Doc. #286). But Defendant fails to
provide the facts considered by the district court in granting the motion. The defendant,
who was convicted of bank fraud, was incarcerated at FCI Oakdale in Louisiana. Id.
(Doc. #285, at 1-2). Unfortunately, COVID-19 significantly impacted FCI Oakdale,
becoming a matter of national news. Id. at 2-3.7 In fact, when the district court granted
the defendant’s motion on April 2, 2020, a fourth inmate had died from COVID-19. See
Sarah N. Lynch, Death toll from COVID-19 at Oakdale prison in Louisiana continues to
climb, Reuters (Apr. 2, 2020), https://www.reuters.com/article/us-health-coronavirus-
prisons/death-toll-from-covid-19-at-oakdale-prison-in-louisiana-continues-to-climb-
idUSKBN21K2D4. The defendant was housed in FCI Oakdale’s minimum-security
camp, which is “composed of two dormitories with approximately 70 bunk beds in each
one, with no cells or other means of isolating or social distancing.” No. 4:15-CR-80-01
(S.D. Tex. Apr. 2, 2020) (Doc. #285, at 3-4). Although the defendant’s motion was
granted, the district court ordered the defendant be monitored by “location monitoring
technology” for twelve months. Id.
       Fourth, in United States v. Resnick, the defendant sought compassionate release
due to his chronic medical conditions, including “diabetes and related end-stage liver
disease,” making him “particularly vulnerable to COVID-19.” No. 12-CR-152-01, 2020
WL 1651508, at *1 (S.D.N.Y. Apr. 2, 2020). When he filed his motion, the defendant had
served more than sixty percent of his six-year sentence for mail and wire fraud and
conspiracy to commit mail and wire fraud. Id. at 1-2. The district court granted the
motion because the defendant’s medical conditions were “identified as ‘high risk,’” the
“highly infectious nature of COVID-19,” and “the limitations in a prison environment . . .



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 See also Sadie Gurman, Zusha Elinson, & Deanna Paul, Coronavirus Puts a Prison
Under Siege, Wall St. J. (Apr. 6, 2020), https://www.wsj.com/articles/inside-oakdale-
prison-our-sentences-have-turned-into-death-sentences-11586191030; Kimberly Kindy,
An explosion of coronavirus cases cripples a federal prison in Louisiana, Wash. Post
(Mar. 29, 2020), https://www.washingtonpost.com/national/an-explosion-of-coronavirus-
cases-cripples-a-federal-prison-in-louisiana/2020/03/29/75a465c0-71d5-11ea-85cb-
8670579b863d_story.html.


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on practicing the hygienic and social distancing techniques” recommended by the CDC
to prevent the spread of COVID-19. Id. at *7. The district court also found the
defendant’s home environment would “be significantly better” than where he was
incarcerated. Id.
       Fifth, in United States v. Williams, the defendant sought compassionate release
based on his “severe coronary and peripheral vascular disease, congestive heart
failure, left ventricular dysfunction, end-stage renal disease, hyperlipidemia, and
prediabetes.” No. 3:04CR95/MCR, 2020 WL 1751545, at *3 (N.D. Fla. Apr. 1, 2020).
When granting the motion, the district court determined the defendant’s “deterioration in
physical health [wa]s sufficiently serious to satisfy the medical criteria for a reduction in
sentence.” Id. at *3. Additionally, the Court observed the defendant had served at least
seventy-five percent of his fifteen-year sentence, and he would “be on supervised
release for five years, including one year of home confinement . . . .” Id. at *3-4.
       Finally, in United States v. Jepsen, the defendant seeking a reduction in
sentence was serving a nine-month sentence for violating his supervised release. No.
3:19-CV-00073(VLB), 2020 WL 1640232, at *1 (D. Conn. Apr. 1, 2020). With less than
eight weeks to serve, the defendant moved for compassionate release based on three
“chronic conditions considered by the CDC to be risk factors for severe complications,”
which his medical records confirmed. Id. at *3, 5. Significantly, the Government
consented to the defendant’s release. Id. at *5. Based on the “totality of the
circumstances” the district court found the defendant established “extraordinary and
compelling” reasons to grant compassionate release. Id. at *5.
       Defendant’s circumstances are unlike those presented in Foster, Colvin,
Brannan, Resnick, Williams, and Jepsen. Defendant does not suffer from a chronic
lung illness that makes it difficult for him to breathe, diabetes, end-stage liver disease,
congestive heart failure, or end-stage renal disease. Defendant’s crimes are vastly
different from those committed by the defendants who were granted compassionate
release. Defendant was sentenced to thirty years, unlike the defendants discussed
supra, who were sentenced to thirty days, nine months, forty-eight months, five years,
six years, and fifteen years. FCI Englewood has not had a large outbreak of COVID-19,
it is not overcrowded or unsanitary, and does not prevent Defendant from exercising



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self-care, proper hygiene, or social distancing. Finally, BOP cancelled its determination
that Defendant merited home confinement, and the Government does not consent to
Defendant’s motion.


                            (d)     Defendant’s Medical Condition
       Defendant is not suffering from a terminal illness. Thus, for his medical condition
to be considered an extraordinary and compelling reason for compassionate release,
Defendant must demonstrate he is suffering from a “serious physical or medical
condition . . . that substantially diminishes [his] ability to . . . provide self-care within the
environment of a correctional facility and from which he or she is not expected to
recover.” U.S.S.G. § 1B1.13 app. n.1(A)(ii). Defendant does not argue – much less,
present evidence – his medical condition has substantially diminished his ability to
provide self-care while incarcerated. In addition, he does not demonstrate he is not
expected to recover from his medical condition. Therefore, Defendant fails to establish
his medical condition presents an extraordinary and compelling reason for a reduction in
his sentence.


                                    (e)    Defendant’s Age
       Defendant is over the age of 65 and has served more than ten years of
imprisonment. For his age to qualify as an extraordinary and compelling reason to
reduce his sentence, Defendant must also demonstrate he is “experiencing a serious
deterioration in physical or mental health because of the aging process.” U.S.S.G. §
1B1.13 app. n.1(B). But Defendant does not argue or demonstrate his physical or
mental health has deteriorated because of the aging process. Accordingly, Defendant’s
age is not an extraordinary and compelling reason for his sentence to be reduced.


                    (f)    Other Extraordinary and Compelling Reasons
       The Sentencing Commission’s policy statement indicates extraordinary and
compelling reasons, other than medical condition, age, and family circumstances, may
justify a sentence reduction. U.S.S.G. § 1B1.13 app. n.1. Although Defendant claims
his “life is in jeopardy every day he is imprisoned while the COVID-19 pandemic rips



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through the BOP,” the facts paint a different picture. The facility where he is serving his
sentence has an incredibly low incident COVID-19 rate. In addition, Defendant does not
demonstrate he is unable to socially distance or practice appropriate hygiene. While
COVID-19 presents unique circumstances, COVID-19’s existence and the possibility of
contracting the virus, particularly in a facility with a low incident rate, does not warrant
compassionate release. See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)
(citation omitted) (finding the possibility that COVID-19 “may spread to a particular
prison alone cannot independently justify compassionate release, especially considering
BOP’s . . . extensive and professional efforts to curtail the virus’s spread.”).
       Defendant also suggests his post-conviction conduct should also be considered
by the Court. He claims to have rehabilitated himself and states he has been a
productive inmate for the roughly nineteen years he has been incarcerated. Doc. #162,
at 6-7, 11-14; Doc. #178, at 15-16. But rehabilitating oneself and being a productive
inmate do not equate to extraordinary and compelling reasons. Perhaps that is why the
Sentencing Commission’s policy statement expressly states, “rehabilitation of the
defendant is not, by itself, an extraordinary and compelling reason….” U.S.S.G.
1B1.13(3). Regardless, rehabilitating oneself and being a productive inmate do not
equate to extraordinary and compelling reasons for a sentence reduction.
       When considering the additional reasons presented by Defendant collectively or
in conjunction with his medical conditions and age, the Court finds Defendant has not
demonstrated extraordinary and compelling reasons meriting a reduction in sentence.
For this reason, the Court denies Defendant’s motion.8


                            (2)    18 U.S.C. § 3553(a) Factors
       Even if the Court were to find Defendant demonstrated extraordinary and
compelling reasons for a reduction in sentence, the Court would still deny Defendant’s
motion because a reduction in his sentence would be unwarranted under the factors set




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 The Court also concludes a reduction in Defendant’s sentence would be inconsistent
with the applicable policy statements issued by the Sentencing Commission. 28 U.S.C.
§ 3582(c)(1)(A); U.S.S.G. § 1.B1.13.


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forth in 18 U.S.C. § 3553(a). 28 U.S.C. § 3582(c)(1)(A). Under section 3553(a), the
Court considers the following factors:
      (1) the nature and circumstances of the offense and the history and
          characteristics of the defendant;
      (2) the need for the sentence imposed—
          (A) to reflect the seriousness of the offense, to promote respect for the
              law, and to provide just punishment for the offense;
          (B) to afford adequate deterrence to criminal conduct;
          (C) to protect the public from further crimes of the defendant; and
          (D) to provide the defendant with needed educational or vocational
              training, medical care, or other correctional treatment in the most
              effective manner;
      (3) the kinds of sentences available;
      (4) the kinds of sentence and the sentencing range established for—
          (A) the applicable category of offense committed by the applicable
              category of defendant as set forth in the guidelines—
             (i) issued by the Sentencing Commission pursuant to section
                 994(a)(1) of title 28, United States Code, subject to any
                 amendments made to such guidelines by act of Congress
                 (regardless of whether such amendments have yet to be
                 incorporated by the Sentencing Commission into amendments
                 issued under section 994(p) of title 28); and
             (ii) that, except as provided in section 3742(g), are in effect on the
                  date the defendant is sentenced; . . . .
      (5) any pertinent policy statement—
          (A) issued by the Sentencing Commission pursuant to section
              994(a)(2) of title 28, United States Code, subject to any
              amendments made to such policy statement by act of Congress
              (regardless of whether such amendments have yet to be
              incorporated by the Sentencing Commission into amendments
              issued under section 994(p) of title 28); and
          (B) that, except as provided in section 3742(g), is in effect on the date
              the defendant is sentenced.
      (6) The need to avoid unwarranted sentence disparities among
          defendants with similar records who have been found guilty of similar
          conduct; and
      (7) the need to provide restitution to any victims of the offense.
18 U.S.C. § 3353(a).



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       The Court considered these factors when it sentenced Defendant. Doc. #179-1,
at 2-9. These factors – and the Court’s analysis thereof – have not changed since then.
For the same reasons stated when the Court sentenced Defendant (Docs. #131, 134-
35), the Court finds the factors set forth in section 3353(a) weigh against granting
Defendant’s motion for compassionate release. For this additional reason, the Court
denies Defendant’s motion.


                          (3)    Cancelled Home Confinement
       Recently, the BOP considered placing Defendant on home confinement, which
would not have reduced his sentence but would have changed the location where he
served the remainder of his sentence. Doc. #179, at 2. But the BOP cancelled the
home confinement placement because, according to Defendant, “the proposed home
release plan was no longer an available option.” Id. Defendant maintains home
confinement was cancelled due to “the numerous threats Courtney’s family received
when news of his release . . . was inexplicably made public.” Doc. #180, at 1.
       Defendant claims the BOP’s initial decision to release him to home confinement
under the Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, “speaks
volumes to the merits” of his motion. Id. at 2. Under the CARES Act, “if the Attorney
General finds that emergency conditions will materially affect the functioning of the
Bureau [of Prisons], the Director of the Bureau [of Prisons] may lengthen the maximum
amount of time for which the Director is authorized to place a prisoner in home
confinement under the first sentence of section 3624(c)(2) of title 18, United States
Code, as the Director determines appropriate.” CARES Act, Pub. L. No. 116-136, 134
Stat. 281, 515-16 (2020). The CARES Act does not authorize the Court to reduce
Defendant’s sentence or release him to confinement, and thus, is in applicable and
irrelevant to the Court’s analysis of Defendant’s pending motion.9


9
 In addition, the Director of the BOP, when determining whether home confinement is
appropriate, considers an inmate’s age, vulnerability to COVID-19, security level,
conduct in prison, risk category, crime of conviction, danger posed by the inmate to the
community, and “[w]hether the inmate has demonstrated and [sic] verifiable re-entry
plan.” See Attorney General, Prioritization of Home Confinement As Appropriate
Response to COVID019 Pandemic (Mar. 26, 2020), https://www.bop.gov/coronavirus/


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                                III.   CONCLUSION
      For all the foregoing reasons, the Court denies Defendant’s Renewed Motion for
Reduction in Sentence without prejudice.
IT IS SO ORDERED.
                                              /s/ Ortrie D. Smith
DATE: August 31, 2020                         ORTRIE D. SMITH, SENIOR JUDGE
                                              UNITED STATES DISTRICT COURT




docs/bop_memo_home_confinement.pdf. These factors are substantially different than
those considered by the Court when deciding whether a defendant qualifies for
compassionate release. 18 U.S.C. §§ 3553(a), 3582(c)(1)(A); U.S.S.G. § 1.B1.13.


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